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                               UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

       In re: ACOSTA, NAIBY                                           §    Case No. 11-37872-BKC-RAM
                                                                      §
                                                                      §
   Debtor(s)                                                          §
         CHAPTER 7 TRUSTEE'S FINAL ACCOUNT AND DISTRIBUTION
  REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                 AND APPLICATION TO BE DISCHARGED (TDR)

         Barry E. Mukamal, chapter 7 trustee, submits this Final Account,
Certification that the Estate has been Fully Administered and Application to be Discharged.

         1) All funds on hand have been distributed in accordance with the Trustee's Final Report
and, if applicable, any order of the Court modifying the Final Report. The case is fully
administered and all assets and funds which have come under the trustee's control in this case
have been properly accounted for as provided by law. The trustee hereby requests to be
discharged from further duties as a trustee.

        2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
discharged without payment, and expenses of administration is provided below:


 Assets Abandoned: $85,472.29                           Assets Exempt: $5,204.72
 (without deducting any secured claims)
 Total Distribution to Claimants:$1,720.31             Claims Discharged
                                                       Without Payment: $36,142.37

 Total Expenses of Administration:$1,035.45


         3) Total gross receipts of $     3,626.00       (see Exhibit 1 ), minus funds paid to the debtor
 and third parties of $      870.24 (see Exhibit 2    ), yielded net receipts of $2,755.76
from the liquidation of the property of the estate, which was distributed as follows:




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                                        CLAIMS              CLAIMS             CLAIMS             CLAIMS
                                      SCHEDULED            ASSERTED           ALLOWED              PAID


 SECURED CLAIMS
 (from Exhibit 3)                         $241,673.57          $3,751.01             $0.00              $0.00

 PRIORITY CLAIMS:
    CHAPTER 7 ADMIN. FEES
    AND CHARGES
    (from Exhibit 4 )                            0.00           1,035.45          1,035.45           1,035.45

   PRIOR CHAPTER
   ADMIN. FEES AND
   CHARGES (fromExhibit 5 )                      0.00               0.00               0.00                 0.00
   PRIORITY UNSECURED
   CLAIMS (from Exhibit 6 )                      0.00               0.00               0.00                 0.00
 GENERAL UNSECURED
 CLAIMS (fromExhibit 7)                     39,602.00          24,157.68          24,157.68          1,720.31

                                          $281,275.57         $28,944.14        $25,193.13          $2,755.76
 TOTAL DISBURSEMENTS

          4) This case was originally filed under Chapter 7 on October 06, 2011.
  The case was pending for 33 months.

          5) All estate bank statements, deposit slips, and canceled checks have been submitted to
  the United States Trustee.

           6) An individual estate property record and report showing the final accounting of the
  assets of the estate is attached as Exhibit 8 . The cash receipts and disbursements records for
  each estate bank account, showing the final accounting of the receipts and disbursements of
  estate funds is attached as Exhibit 9 .

          Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
  foregoing report is true and correct.

  Dated: 07/25/2014                 By: /s/Barry E. Mukamal
                                        Trustee


  STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
  Act exemption 5 C.F.R. §1320.4(a)(2) applies.




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                                                                 EXHIBITS TO
                                                               FINAL ACCOUNT



EXHIBIT 1 GROSS RECEIPTS

                                                                                           UNIFORM                               $ AMOUNT
               DESCRIPTION
                                                                                          TRAN. CODE 1                           RECEIVED
     TAX REFUND                                                                           1224-000                                 3,626.00


    TOTAL GROSS RECEIPTS                                                                                                          $3,626.00

1
    The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


EXHIBIT 2 FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                           UNIFORM                               $ AMOUNT
        PAYEE                                      DESCRIPTION
                                                                                          TRAN. CODE                                PAID
 NAIBY ACOSTA                                     Debtor's prorated portion of
                                                  tax refund, court ordered
                                                  05/09/12                     8500-002                                             870.24

    TOTAL FUNDS PAID TO DEBTOR AND THIRD                                                                                           $870.24
    PARTIES

EXHIBIT 3 SECURED CLAIMS


                                                      UNIFORM          CLAIMS
       CLAIM                                                          SCHEDULED               CLAIMS                  CLAIMS         CLAIMS
        NO.               CLAIMANT                     TRAN.           (from Form            ASSERTED                ALLOWED          PAID
                                                       CODE                6D)
           2      Ford Motor Credit Company            4210-000                3,407.57              3,751.01             0.00                  0.00
                  LLC
 NOTFILED         Bank of America Home Loans           4110-000               40,689.00           N/A                   N/A                     0.00

 NOTFILED         Bank of America Home Loans           4110-000             197,577.00            N/A                   N/A                     0.00


    TOTAL SECURED CLAIMS                                                   $241,673.57            $3,751.01              $0.00                 $0.00



EXHIBIT 4 CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                                      UNIFORM
        PAYEE                                                          CLAIMS                 CLAIMS                  CLAIMS         CLAIMS
                                                       TRAN.
                                                                      SCHEDULED              ASSERTED                ALLOWED          PAID
                                                       CODE
 Barry E. Mukamal                                      2100-000            N/A                          688.94          688.94                688.94

 Barry E. Mukamal                                      2200-000            N/A                           26.51           26.51                 26.51



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 The Bank of New York Mellon      2600-000          N/A                    25.00           25.00       25.00

 The Bank of New York Mellon      2600-000          N/A                    25.00           25.00       25.00

 The Bank of New York Mellon      2600-000          N/A                    25.00           25.00       25.00

 The Bank of New York Mellon      2600-000          N/A                    25.00           25.00       25.00

 The Bank of New York Mellon      2600-000          N/A                    25.00           25.00       25.00

 The Bank of New York Mellon      2600-000          N/A                    25.00           25.00       25.00

 The Bank of New York Mellon      2600-000          N/A                    25.00           25.00       25.00

 The Bank of New York Mellon      2600-000          N/A                    25.00           25.00       25.00

 Rabobank, N.A.                   2600-000          N/A                    10.00           10.00       10.00

 Rabobank, N.A.                   2600-000          N/A                    10.00           10.00       10.00

 Rabobank, N.A.                   2600-000          N/A                    10.00           10.00       10.00

 Rabobank, N.A.                   2600-000          N/A                    10.00           10.00       10.00

 Rabobank, N.A.                   2600-000          N/A                    10.00           10.00       10.00

 Rabobank, N.A.                   2600-000          N/A                    10.00           10.00       10.00

 Rabobank, N.A.                   2600-000          N/A                    10.00           10.00       10.00

 Rabobank, N.A.                   2600-000          N/A                    10.00           10.00       10.00

 Rabobank, N.A.                   2600-000          N/A                    10.00           10.00       10.00

 Rabobank, N.A.                   2600-000          N/A                    10.00           10.00       10.00

 Rabobank, N.A.                   2600-000          N/A                    10.00           10.00       10.00

 Rabobank, N.A.                   2600-000          N/A                    10.00           10.00       10.00

 TOTAL CHAPTER 7 ADMIN. FEES                        N/A               $1,035.45       $1,035.45     $1,035.45
 AND CHARGES


EXHIBIT 5 PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES


                                  UNIFORM
    PAYEE                                       CLAIMS             CLAIMS           CLAIMS         CLAIMS
                                   TRAN.
                                               SCHEDULED          ASSERTED         ALLOWED          PAID
                                   CODE
                                             None

 TOTAL PRIOR CHAPTER ADMIN.                         N/A                    $0.00           $0.00       $0.00
 FEES AND CHARGES




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EXHIBIT 6 PRIORITY UNSECURED CLAIMS


                                         UNIFORM       CLAIMS              CLAIMS
   CLAIM                                              SCHEDULED           ASSERTED            CLAIMS         CLAIMS
    NO.             CLAIMANT              TRAN.        (from Form        (from Proofs of     ALLOWED          PAID
                                          CODE             6E)                Claim)
                                                    None

 TOTAL PRIORITY UNSECURED                                       $0.00                $0.00           $0.00       $0.00
 CLAIMS


EXHIBIT 7 GENERAL UNSECURED CLAIMS


                                         UNIFORM       CLAIMS              CLAIMS
   CLAIM                                              SCHEDULED           ASSERTED            CLAIMS         CLAIMS
    NO.             CLAIMANT              TRAN.        (from Form        (from Proofs of     ALLOWED          PAID
                                          CODE             6F)                Claim)
      1     Midland Funding LLC          7100-000            10,160.00            8,940.61       8,940.61       636.68

      3     FIA Card Services NA as      7100-000             6,012.00            6,012.33       6,012.33       428.15
            successor to
      4     American Express Centurion   7100-000             1,602.00            1,452.88       1,452.88       103.46
            Bank
      5     GE Capital Retail Bank       7100-000             2,038.00            2,038.72       2,038.72       145.18

      6     Discover Bank                7100-000             6,085.00            5,713.14       5,713.14       406.84

 NOTFILED   Macy                         7100-000             1,741.00         N/A                   N/A           0.00

 NOTFILED   GEMB/JC Penney               7100-000             1,602.00         N/A                   N/A           0.00

 NOTFILED   Sears                        7100-000             1,141.00         N/A                   N/A           0.00

 NOTFILED   The Home Depot               7100-000             2,071.00         N/A                   N/A           0.00

 NOTFILED   Citi                         7100-000             2,000.00         N/A                   N/A           0.00

 NOTFILED   Chase                        7100-000             5,150.00         N/A                   N/A           0.00

 TOTAL GENERAL UNSECURED                                   $39,602.00          $24,157.68      $24,157.68     $1,720.31
 CLAIMS




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                                                                                                                                                                             Exhibit 8


                                                                                   Form 1                                                                                    Page: 1

                                           Individual Estate Property Record and Report
                                                            Asset Cases
Case Number: 11-37872-BKC-RAM                                                               Trustee:         (290830)       Barry E. Mukamal
Case Name:         ACOSTA, NAIBY                                                            Filed (f) or Converted (c): 10/06/11 (f)
                                                                                            §341(a) Meeting Date:           11/17/11
Period Ending: 07/15/14                                                                     Claims Bar Date:                06/01/12

                                  1                                        2                            3                           4               5                   6

                     Asset Description                                Petition/              Estimated Net Value             Property          Sale/Funds          Asset Fully
          (Scheduled And Unscheduled (u) Property)                  Unscheduled         (Value Determined By Trustee,       Abandoned          Received by      Administered (FA)/
                                                                       Values              Less Liens, Exemptions,          OA=§554(a)          the Estate       Gross Value of
Ref. #                                                                                         and Other Costs)                                                 Remaining Assets

 1        16220 NW 18 PLACE, OPA LOCKA, FL 33054                          71,665.00                             0.00               OA                    0.00                     FA
           Joint with non-filing party. Report of abandonment
          on file with the court ECF 20

 2        CASH ON HAND                                                          60.00                           0.00                                     0.00                     FA

 3        CHASE A/N 4978                                                         4.96                           0.00                                     0.00                     FA

 4        CHASE A/N 8488                                                        50.90                           0.00                                     0.00                     FA

 5        MACNEIL EMPLOYEE CU A/N 764                                          421.43                           0.00                                     0.00                     FA

 6        HOUSEHOLD GOODS AND FURNISHINGS                                  1,200.00                             0.00                                     0.00                     FA

 7        WEARING APPAREL                                                      100.00                           0.00                                     0.00                     FA

 8        JEWELRY                                                              250.00                           0.00                                     0.00                     FA

 9        2006 FORD FUSION                                                 6,525.00                             0.00               OA                    0.00                     FA
           Notice of Abandonment on file with the court ECF 33

10        2001 TOYOTA TACOMA                                               5,195.00                         5,195.00               OA                    0.00                     FA
           Joint with non-filing party. Notice of Abandonment on
          file with the court ECF 33

11        TAX REFUND (u)                                                   2,755.76                         2,755.76                                 3,626.00                     FA

 11      Assets      Totals (Excluding unknown values)                   $88,228.05                      $7,950.76                                  $3,626.00                  $0.00



      Major Activities Affecting Case Closing:

                  The Trustee has recovered the estate's interest in the tax refund equal to $ 2,755.76, court ordered 05/09/12.


                  Claims review complete. No tax return required.

      Initial Projected Date Of Final Report (TFR):      September 30, 2012                   Current Projected Date Of Final Report (TFR):       December 30, 2013 (Actual)




                 July 15, 2014                                                                       /s/ Barry E. Mukamal
            __________________________                                                               _________________________________________________________________
                           Date                                                                      Barry E. Mukamal




                                                                                                                                              Printed: 07/15/2014 03:12 PM     V.13.15
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                                                                                                                                                                           Exhibit 9


                                                                             Form 2                                                                                         Page: 1

                                                 Cash Receipts And Disbursements Record
Case Number:        11-37872-BKC-RAM                                                           Trustee:            Barry E. Mukamal (290830)
Case Name:          ACOSTA, NAIBY                                                              Bank Name:          The Bank of New York Mellon
                                                                                               Account:            ****-******21-65 - Checking Account
Taxpayer ID #: **-***5299                                                                      Blanket Bond:       $1,000,000.00 (per case limit)
Period Ending: 07/15/14                                                                        Separate Bond: N/A

   1            2                        3                                    4                                                5                    6                  7

 Trans.     {Ref #} /                                                                                                      Receipts        Disbursements    Checking
  Date      Check #        Paid To / Received From            Description of Transaction                  T-Code              $                  $       Account Balance
04/24/12      {11}      United States Treasury        2011 tax refund                                     1224-000              3,626.00                                   3,626.00
04/30/12                The Bank of New York Mellon   Bank and Technology Services Fee                    2600-000                                        25.00            3,601.00
05/17/12      1001      NAIBY ACOSTA                  Debtor's prorated portion of tax refund, court      8500-002                                       870.24            2,730.76
                                                      ordered 05/09/12
05/31/12                The Bank of New York Mellon   Bank and Technology Services Fee                    2600-000                                        25.00            2,705.76
06/29/12                The Bank of New York Mellon   Bank and Technology Services Fee                    2600-000                                        25.00            2,680.76
07/31/12                The Bank of New York Mellon   Bank and Technology Services Fee                    2600-000                                        25.00            2,655.76
08/31/12                The Bank of New York Mellon   Bank and Technology Services Fee                    2600-000                                        25.00            2,630.76
09/28/12                The Bank of New York Mellon   Bank and Technology Services Fee                    2600-000                                        25.00            2,605.76
10/31/12                The Bank of New York Mellon   Bank and Technology Services Fee                    2600-000                                        25.00            2,580.76
11/30/12                The Bank of New York Mellon   Bank and Technology Services Fee                    2600-000                                        25.00            2,555.76
12/20/12                RABOBANK MIGRATION            TRANSFER TO 0001029083088                           9999-000                                   2,555.76                  0.00
                        TRANSFER OUT                  20121220

                                                                            ACCOUNT TOTALS                                      3,626.00             3,626.00                $0.00
                                                                                    Less: Bank Transfers                            0.00             2,555.76
                                                                            Subtotal                                            3,626.00             1,070.24
                                                                                    Less: Payments to Debtors                                              0.00
                                                                            NET Receipts / Disbursements                       $3,626.00            $1,070.24




{} Asset reference(s)                                                                                                                   Printed: 07/15/2014 03:12 PM        V.13.15
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                                                                                                                                                                                 Exhibit 9


                                                                                  Form 2                                                                                          Page: 2

                                                 Cash Receipts And Disbursements Record
Case Number:        11-37872-BKC-RAM                                                               Trustee:              Barry E. Mukamal (290830)
Case Name:          ACOSTA, NAIBY                                                                  Bank Name:            Rabobank, N.A.
                                                                                                   Account:              ******6566 - Checking Account
Taxpayer ID #: **-***5299                                                                          Blanket Bond:         $1,000,000.00 (per case limit)
Period Ending: 07/15/14                                                                            Separate Bond: N/A

   1            2                          3                                         4                                               5                    6                  7

 Trans.     {Ref #} /                                                                                                            Receipts        Disbursements    Checking
  Date      Check #          Paid To / Received From                Description of Transaction                  T-Code              $                  $       Account Balance
12/21/12                RABOBANK MIGRATION                  RABOBANK MIGRATION                                 9999-000               2,555.76                                   2,555.76
                        TRANSFER IN
12/31/12                Rabobank, N.A.                      Bank and Technology Services Fee                   2600-000                                        10.00             2,545.76
01/31/13                Rabobank, N.A.                      Bank and Technology Services Fee                   2600-000                                        10.00             2,535.76
02/28/13                Rabobank, N.A.                      Bank and Technology Services Fee                   2600-000                                        10.00             2,525.76
03/29/13                Rabobank, N.A.                      Bank and Technology Services Fee                   2600-000                                        10.00             2,515.76
04/30/13                Rabobank, N.A.                      Bank and Technology Services Fee                   2600-000                                        10.00             2,505.76
05/31/13                Rabobank, N.A.                      Bank and Technology Services Fee                   2600-000                                        10.00             2,495.76
06/28/13                Rabobank, N.A.                      Bank and Technology Services Fee                   2600-000                                        10.00             2,485.76
07/31/13                Rabobank, N.A.                      Bank and Technology Services Fee                   2600-000                                        10.00             2,475.76
08/30/13                Rabobank, N.A.                      Bank and Technology Services Fee                   2600-000                                        10.00             2,465.76
09/30/13                Rabobank, N.A.                      Bank and Technology Services Fee                   2600-000                                        10.00             2,455.76
10/31/13                Rabobank, N.A.                      Bank and Technology Services Fee                   2600-000                                        10.00             2,445.76
11/29/13                Rabobank, N.A.                      Bank and Technology Services Fee                   2600-000                                        10.00             2,435.76
02/24/14     11002      Midland Funding LLC                 Dividend paid 7.12% on $8,940.61; Claim# 1;        7100-000                                       636.68             1,799.08
                                                            Filed: $8,940.61; Reference: 0373, court
                                                            ordered 02/19/14.
02/24/14     11003      FIA Card Services NA as successor   Dividend paid 7.12% on $6,012.33; Claim# 3;        7100-000                                       428.15             1,370.93
                        to                                  Filed: $6,012.33; Reference: 3170, court
                                                            ordered 02/19/14.
02/24/14     11004      American Express Centurion Bank     Dividend paid 7.12% on $1,452.88; Claim# 4;        7100-000                                       103.46             1,267.47
                                                            Filed: $1,452.88; Reference: 1004, court
                                                            ordered 02/19/14.
02/24/14     11005      GE Capital Retail Bank              Dividend paid 7.12% on $2,038.72; Claim# 5;        7100-000                                       145.18             1,122.29
                                                            Filed: $2,038.72; Reference: 5927, court
                                                            ordered 02/19/14.
02/24/14     11006      Discover Bank                       Dividend paid 7.12% on $5,713.14; Claim# 6;        7100-000                                       406.84              715.45
                                                            Filed: $5,713.14; Reference: 6014, court
                                                            ordered 02/19/14.
02/24/14     11007      Barry E. Mukamal                    COMBINED CHECK FOR TRUSTEE                                                                        715.45                 0.00
                                                            COMPENSATION, EXPENSES AND
                                                            INTEREST
                                                               Dividend paid 100.00%             688.94        2100-000                                                              0.00
                                                               on $688.94; Claim# ;
                                                               Filed: $688.94
                                                               Dividend paid 100.00%              26.51        2200-000                                                              0.00
                                                               on $26.51; Claim# ;
                                                               Filed: $26.51


                                                                                                       Subtotals :                  $2,555.76             $2,555.76
{} Asset reference(s)                                                                                                                         Printed: 07/15/2014 03:12 PM        V.13.15
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                                                                                                                                                                         Exhibit 9


                                                                          Form 2                                                                                         Page: 3

                                               Cash Receipts And Disbursements Record
Case Number:        11-37872-BKC-RAM                                                       Trustee:              Barry E. Mukamal (290830)
Case Name:          ACOSTA, NAIBY                                                          Bank Name:            Rabobank, N.A.
                                                                                           Account:              ******6566 - Checking Account
Taxpayer ID #: **-***5299                                                                  Blanket Bond:         $1,000,000.00 (per case limit)
Period Ending: 07/15/14                                                                    Separate Bond: N/A

   1            2                       3                                   4                                                5                    6                  7

 Trans.     {Ref #} /                                                                                                    Receipts         Disbursements    Checking
  Date      Check #        Paid To / Received From            Description of Transaction                T-Code              $                   $       Account Balance

                                                                          ACCOUNT TOTALS                                      2,555.76             2,555.76                $0.00
                                                                                 Less: Bank Transfers                         2,555.76                 0.00
                                                                          Subtotal                                                 0.00            2,555.76
                                                                                 Less: Payments to Debtors                                             0.00
                                                                          NET Receipts / Disbursements                            $0.00           $2,555.76

                           Net Receipts :          3,626.00
        Less Other Noncompensable Items :            870.24                                                                    Net              Net                  Account
                                              ————————                    TOTAL - ALL ACCOUNTS                               Receipts      Disbursements             Balances
                               Net Estate :       $2,755.76
                                                                          Checking # ****-******21-65                         3,626.00             1,070.24                 0.00
                                                                          Checking # ******6566                                    0.00            2,555.76                 0.00

                                                                                                                            $3,626.00             $3,626.00                $0.00




{} Asset reference(s)                                                                                                                 Printed: 07/15/2014 03:12 PM        V.13.15
